                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

                                              )
WILLIAM BERNICE YOUNG,                        )      Case No. 3:17-bk-08092
                                              )      Chapter 7
       Debtor.                                )      Judge Walker


OBJECTION TO TRUSTEE’S MOTION TO SELL PROPERTY FREE AND CLEAR OF
           LIENS, CLAIMS, INTERESTS AND ENCUMBRANCES

       Comes now Prime Nashville, LLC (“Prime Nashville”), by and through counsel, and files

this objection (the “Objection”) to the Trustee’s Motion to Sell Property Free and Clear of Liens,

Claims, Interests and Encumbrances (Doc. 77) (the “Motion to Sell”). In support of its Objection,

Prime Nashville states as follows:

       On June 29, 2018, the Trustee filed the Motion to sell in which he seeks to sell one parcel

of real property, located at 1104 Lenore Street, Nashville, Tennessee (the “Property”) to a third

party for $190,000.00.

       Prime Nashville is willing to pay $500,000.00 for the purchase of four parcels of real

estate, which includes the Property. Those four parcels are 1104 Lenore, 453 Coventry, 4501

Xavier, and 2419 Emmett (the “Four Parcels”). Using the Trustee’s $190,000 sales price as the

value for the Property, and using the Debtor’s values for the other three properties as disclosed in

his statements and schedules, the total value of the Four Parcels is approximately $508,000.00.

       Attached hereto as Exhibit A is Prime Nashville’s purchase offer for the Four Parcels.

       WHEREFORE, Prime Nashville respectfully requests that the Court deny the Trustee’s

Motion to Sell, approve a sale of the Four Parcels to Prime Nashville, and grant such other relief

as the Court deems just.




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Dated: July 19, 2018


                                        Respectfully Submitted,

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